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                                             #589



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
        Plaintiff,                               )
                                                 )
vs.                                              ) No. 01-cr-40017-012-JPG
                                                 )
KEVIN O. HARDIN,                                 )
                                                 )
        Defendant.                               )

                                  MEMORANDUM AND ORDER

        This matter comes before the Court on defendant Kevin O. Hardin’s pro se response to

counsel’s no merits motion and motion for a reduction of his criminal sentence pursuant to 18 U.S.C. §

3582(c)(2) and United States Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 454). The

Court appointed counsel for Hardin, and counsel has moved to withdraw on the basis that she can

make no non-frivolous arguments in support of the defendant’s request (Doc. 445). See Anders v.

California, 386 U.S. 738, 744 (1967). The government has responded to the motions (Doc. 452).

Hardin filed the instant response and pro se motion.

        Hardin pled guilty to one count of conspiring to distribute crack cocaine, and one count of

possessing with intent to distribute crack cocaine. At sentencing, the Court found by a preponderance

of the evidence that Hardin’s crack cocaine relevant conduct was 13.3 kilograms. His offense level

was increased for possession of a firearm and was reduced for acceptance of responsibility for a total

offense level of 38. Considering Hardin’s criminal history category of III, this yielded a sentencing

range of 262 to 327 months in prison. The Court departed downward pursuant to the government’s

motion and imposed a sentence of 210 months for each count, less than the statutory maximum

sentence established by Hardin’s convictions. See 21 U.S.C. § 841(b)(1)(A). Hardin now asks the

Court to apply recent changes to U.S.S.G. § 2D1.1 to lower his sentence.
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       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing range that

has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).” In

doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure that any

reduction “is consistent with applicable policy statements issued by the Sentencing Commission.” 18

U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence reduction under § 3582(c)(2) must satisfy

two criteria: (1) the Sentencing Commission must have lowered the applicable guideline sentencing

range, and (2) the reduction must be consistent with applicable policy statements issued by the

Sentencing Commission. If the defendant cannot satisfy the first criterion, the Court has no subject

matter jurisdiction to consider the reduction request. United States v. Lawrence, 535 F.3d 631, 637-38

(7th Cir. 2008); see United States v. Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied sub nom

McKnight v. United States, No. 08-9042, 77 U.S.L.W. 3558 (U.S. Apr. 6, 2009).

       Hardin cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense levels

associated with various amounts of crack cocaine. Amendment 715, effective May 1, 2008, further

amended the commentary to U.S.S.G. § 2D1.1 by revising the manner in which offense levels are

determined in cases involving crack cocaine in combination with other controlled substances. The

Sentencing Commission amended U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences

involving crack cocaine and sentences involving powder cocaine. The amendments did not, however,

reduce the sentencing range of defendants whose relevant conduct was 4.5 kilograms or more of crack

cocaine. See Forman, 553 F.3d at 590 (stating that the amendment “affects only defendants who are


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responsible for distributing fewer than 4.5 kilograms of crack cocaine”). Hardin was sentenced based

on relevant conduct that included 13.3 kilograms of crack cocaine. Under the old and amended

guidelines this relevant conduct warranted a base offense level of 38. Thus, the amendment did not

lower his guideline range, and he cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction.

       Because Hardin cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a

sentence reduction, the Court does not have subject matter jurisdiction to consider his reduction

request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court therefore GRANTS

counsel’s motion to withdraw (Doc. 445) and DISMISSES Hardin’s motion for a sentence reduction

(Doc. 455) for lack of jurisdiction. The Clerk of the U.S. District Court is hereby DIRECTED to

mail a copy of this order to Defendant Kevin O. Hardin, #05396-025, FPC Memphis Satellite Camp,

P.O. Box 2000, Millington, TN 38083.

IT IS SO ORDERED.
Dated this 20th day of May, 2009.


                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              U.S. DISTRICT JUDGE




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